Case 2:05-CV-02182-BBD-tmp Document 23 Filed 08/08/05 Page 1 of 3 Page|D 25

IN THE UNITED sTATEs DISTRICT coURT 'Fn.Eo aY d;:~n.@
FOR THE WESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION AT MEMPHIS 95 hug _3 PH 5= 01

 

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ROBERT s. BURCH, G_EP.A ms D#.“:BTR:CT C£IBT
wm t':-*- #-,!;EFJWSS
Plaintiff
Counter-Defendant,

vs. Civil Action No: 05-2182-BBD P
GILLIAM COMMUNICATIONS, INC.,

WLOK RADIO, INC., and

H. A. GILLIAM, JR.,

Defendants
Counter-Plaintiffs.

 

ORDER ON MOTION FOR ORAL ARGUMENT

 

Counsel for the Plaintiff` / Counter-Defendant has filed a Motion for Oral Argument on
his Motion to Dismiss Counterelaim. The stated grounds for the Motion are that the issues raised
in its pending motion and in the Defendant / Counter-Plaintiff"s response warrant a full
opportunity for the benefit of the Court to hear counsel develop their arguments and to permit
counsel to respond to any questions raised by the Court.

The Court finds that oral argument in this matter will be of assistance, by permitting the
parties to emphasize and clarify the Written arguments appearing in their memoranda
Accordingly,

IT IS ORDERED THAT the Motion for Oral Argument be and is hereby granted;

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IT IS FURTHER ORDERED THAT the Oral Argument on Plantiff` / Counter-

Defenda.nt’s Motion to Dismiss Counterclairn Will be heard on M,
SQBM \5 ,200§_,at¢2-'00 Pm

 

 

 

Notice of Distribution

This notice confirms a copy of`the document docketed as number 23 in
case 2:05-CV-02182 Was distributed by f`aX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

